AFFIRMATION OF DUE DILIGENCE - ATTEMPTS TO LOCATE AND/OR SERVE

UNITED STATES DISTRICT COURT OF THE EASTERN DISTRICT OF NEW YORK Civil Action Number: 24 CV 4186

Date Filed:
ATTORNEY(S) ELEFANTE & PERSANIS, ESQ. PH: (914) 961-4400
141 HILLSIDE PLACE EASTCHESTER, NY 10709 | Court/Return Date:
NURO FERATOVIC
Plaintiff

vs
NEPTUNE MAINTENANCE CORP. a New York Corporation, 1350 E 18th LLC, a New York Corporation, ALBERT SROUR and
KHALIL ISMAEL.

Defendant

Pedro 1. Rodriguez, , affirms and says: that deponent is not a party to this action, is over

the age of eighteen (18) years and resides in the State of New York ; deponent attempted to serve the within
Amended Complaint

Upon ALBERT SROUR

ithe defendant / respondent therein named, and that after due search, careful inquiry and diligent attempts
at: 495 Empire Blvd, Brooklyn, NY 11225

deponent was unable to effect process upon the person being served because of the following reason(s):

2/24/2025 1:59 PM_{ spoke with Shaina "Doe" a worker at Laces and Needles the business at the location, who stated that Neptune
Maintenance Corp, 1350 E. 18th LLC, Albert Srour and Khalil Ismael are unknown, do not work here or live in the apartment above the
store.

| affirm on 2/26/2025 under the penalties of
perjury under the laws of New York, which may = whe’ (alo
include a fine or imprisonment, that the foregoing aed Process Server

is true, and | understand that this document may Pedro J. Rodriguez
be filed in an action or proceeding in a court of Lic# 2024701

law. Client’s File No.: Job #: 2011630

STATES PROCESS SERVING COMPANY, 13 TAYLOR AVENUE, CORTLANDT Manor, NY 10567
UNITED STATES DISTRICT COURT OF THE EASTERN DISTRICT OF NEW YORK Civil Action Number: 24 CV 4186

Date Filed:

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141 HILLSIDE PLACE EASTCHESTER, NY 10709 | CourtReturn Date:
NURO FERATOVIC

vs Plaintiff

NEPTUNE MAINTENANCE CORP. a New York Corporation, 1350 E 18th LLC, a New York Corporation, ALBERT SROUR and KHALIL ISMAEL

Pedro J. Rodriguez, affirms and says: AFFIRMATION OF SERVICE
Deponent is not a party herein is over the age of 18 years and resides in the State of New York.
On Eebruary 28, 2025, at 12:09 PM at 495 Flatbush Ave, Suite B60, Brooklyn, NY 11225, Deponent served the within Amended Complaint

On ALBERT SROUR, therein named, ( hereinafter referred to as "subject.

bd #1 SUITABLE AGE PERSON

By delivering thereat a true copy of each to Alex Srour (Co-Worker) a person of suitable age and discretion. Said premises is subject's:
[X] actual place of business / employment [] dwelling house (usual place of abode) within the state.

Gd #2 MAILING

On March 1, 2025, service was completed by mailing a true copy of the above stated document(s) to ALBERT SROUR at the above
stated address in a First Class postpaid properly addressed envelope marked "Personal and Confidential" and not indicating on
the outside that the communication is from an attorney or concerns an action against the person to be served, and placed in an
official depository under the exclusive care and custody of the United States Post Office in the State of New York.

8 #3 DESCRIPTION

Sex: Male Color of skin: White Color of hair: Salt & Pepper Age: 45 - 55 Yrs.
Height: 5ft Sin - 6ft Qin Weight: Over 200 Lbs. Other Features:

CI 44 WITNESS FEES
The authorized witness fee and / or traveling expenses were paid (tendered) to the recipient in the amount of $

i #5 MILITARY SERVICE

Deponent asked person spoken to whether the person to be served is currently active in the military service of the United States or of
the State of New York, and was informed that said person is not.

[J #6 OTHER

The index number and the filing date of the action were endorsed upon the face of the papers so served herein.

i affirm on 3/1/2025 under the penalties of perjury under the laws of New York, which may include a fine or imprisonment,
that the foregoing is true, and | understand that this document may be filed in an action or proceeding in a court of law.

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Process Server, Please Sign
Pedro J. Rodriguez

4 Lic# 2024701
Client’s File No.: Job #: 2011630

STATES PROCESS SERVING COMPANY, 13 TAYLOR AVENUE, CORTLANDT MANOR, NY 10567

Defendant
